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 4   Attorney for:
     JESUS EFRAIN AVILA
 5
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )          CASE NO.    Cr. S-08-212 LKK
                                   )
11                  Plaintiff,     )          STIPULATION AND ORDER CONTINUING
                                   )          STATUS CONFERENCE
12        v.                       )
                                   )
13   JESUS EFRAIN AVILA, et. al., )           DATE:    February 2, 2010
                                   )          TIME:    9:15 a.m.
14                  Defendants.    )          COURT:   Hon. Lawrence K Karlton
     ______________________________)
15
16                                      Stipulation
17           The parties, through undersigned counsel, stipulate that the
18   status conference scheduled for February 2, 2010, may be continued to
19   March 9, 2010, at 9:15 a.m.            The parties agree that time may be
20   excluded from the speedy trial calculation under the Speedy Trial Act
21   for counsel preparation, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and
22   Local Code T4.      This case involves voluminous document discovery and
23   audio recordings of wire taps.          Defense counsel for JESUS AVILA was
24   appointed on January 6, 2010, and the defense investigation has just
25   recently been initiated.
26   / / /
27   / / /
28   / / /

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 1        The prosecutor has authorized defense counsel to sign this
 2   stipulation on her behalf.
 3
 4   DATED: January 29, 2010           BENJAMIN WAGONER
                                       United States Attorney
 5
 6
                                 by    /s/ Mary Grad
 7                                     Mary Grad
                                       Assistant U.S. Attorney
 8
 9   DATED: January 29, 2010
10                               by    /s/ Scott N. Cameron
                                       Scott N. Cameron
11                                     Counsel for Jesus Efrain Avila
12
                                        Order
13
          Good cause appearing,
14
          The status conference scheduled for February 2, 2010, is
15
     continued to March 9, 2010, at 9:15 a.m.
16
          Time is excluded from the speedy trial calculation pursuant to
17
     18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel
18
     preparation through the date of the hearing.
19
20
          IT IS SO ORDERED.
21
22
23
     DATED: February 1, 2010
24
25
26
27
28

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